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               EXHIBIT
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                     SPLIT “FRAME OR RECEIVER” EXAMPLES

     1. Glock variant striker-fired semiautomatic pistol (upper slide and lower grip):




 The frame is the lower portion of the pistol, or grip, that provides housing for the sear.
 See 27 C.F.R. 478.12(a)(4)(iii).

     2. AR-variant semiautomatic rifle (upper and lower receivers):




 The receiver is the lower part of the weapon that provides housing for the trigger mechanism
 and hammer, i.e., the lower receiver. See 27 C.F.R. 478.12(f)(1)(ii) (grandfathered
 classification).

     3. HK-variant semiautomatic rifle:




 The receiver is the upper part of the weapon that provides housing for the bolt.
 See 27 C.F.R. 478.12(a)(4)(ix).
